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                                                                 1 SMILEY WANG-EKVALL, LLP
                                                                     Kyra E. Andrassy, State Bar No. 207959
                                                                 2   kandrassy@swelawfirm.com
                                                                     Michael L. Simon, State Bar No. 300822
                                                                 3   msimon@swelawfirm.com
                                                                     Timothy W. Evanston, State Bar No. 319342
                                                                 4   tevanston@swelawfirm.com
                                                                     3200 Park Center Drive, Suite 250
                                                                 5   Costa Mesa, California 92626
                                                                     Telephone: 714-445-1000
                                                                 6   Facsimile:   714-445-1002

                                                                 7 Counsel for David Stapleton, Receiver
                                                                 8                          UNITED STATES DISTRICT COURT

                                                                 9                        NORTHERN DISTRICT OF CALIFORNIA

                                                                10
                                                                11 SECURITIES AND EXCHANGE                       Case No. 3:20-cv-09247-SI
SMILEY WANG-EKVALL, LLP




                                                                     COMMISSION,
                          Tel 714 445-1000 • Fax 714 445-1002
                            3200 Park Center Drive, Suite 250




                                                                12                                               FIRST QUARTERLY REPORT AND
                               Costa Mesa, California 92626




                                                                                              Plaintiff,         RECOVERY PLAN
                                                                13
                                                                             v.                                  [No hearing required]
                                                                14
                                                                   SILICONSAGE BUILDERS, LLC aka
                                                                15 SILICON SAGE BUILDERS and
                                                                   SANJEEV ACHARYA,
                                                                16
                                                                                          Defendants.
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                                                                 1           David Stapleton, the permanent receiver (the "Receiver") appointed by the Court

                                                                 2 pursuant to the Order on Plaintiff Securities and Exchange Commission's Motion for
                                                                 3 Appointment of Receiver (the "Receivership Order") that was entered on February 10,
                                                                 4 2021, submits this First Quarterly Report and Recovery Plan to apprise the Court of the
                                                                 5 actions taken by the Receiver over the past partial quarter to protect and administer the
                                                                 6 receivership estate, to provide an update to creditors and investors, and to layout the
                                                                 7 Receiver’s general go-forward plan for the receivership estate. The Receiver requests
                                                                 8 entry of an order approving this First Quarterly Report and Recovery Plan.
                                                                 9
                                                                10 I.        RECEIVER’S ACTIVITIES AND EFFORTS IN THE FIRST QUARTER

                                                                11           A.       General Operations of the Receiver
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                                                                12           This receivership estate involves thirteen different real estate projects in varying
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                                                                13 stages of completion. The Receiver is assessing all assets of the receivership estate on
                                                                14 a project-by-project basis to determine the best path forward for each individual project
                                                                15 and its ability to produce a recovery for the receivership estate. The Receiver and his
                                                                16 team have reached out to all secured creditors to independently confirm the amounts of
                                                                17 principal and interest (including default interest) that they report are owed. The
                                                                18 Receiver’s team is in the process of (i) reviewing the loan documents to verify that
                                                                19 everything was properly documented and perfected, and (ii) negotiating with lenders to
                                                                20 preserve any equity that may exist in each project to maximize value for the Receivership
                                                                21 Estate. The Receiver has also contacted former key employees and other third parties to
                                                                22 collect information about the status of the various projects and to assist in making
                                                                23 decisions as to which projects are most worth pursuing to generate recoveries for the
                                                                24 receivership estate. In addition to analyzing the underwriting of the SiliconSage real
                                                                25 estate projects, the Receiver, his team and his counsel continue to:
                                                                26                   field numerous inquiries from various constituents, including creditors and

                                                                27                    their counsel, investors and former employees who have information

                                                                28

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                                                                 1                    regarding the status of the SiliconSage projects and the history of the

                                                                 2                    company’s operations and finances.

                                                                 3                   analyze the financial records and bank statements in order to determine the

                                                                 4                    source of the money into the Receivership Entities, as that term is defined

                                                                 5                    in the Order.

                                                                 6                   review disbursement of funds to investors, vendors and creditors from each

                                                                 7                    of the Receivership Entities to confirm the accuracy of the reports and

                                                                 8                    records.

                                                                 9           As previously reported, the Receiver has preliminarily determined that the data in

                                                                10 the accounting system is not complete and has not been reconciled in recent months.
                                                                11 The Receiver is working with the former back-office bookkeeping to close the books
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                                                                12 through December 2020.
                               Costa Mesa, California 92626




                                                                13           The Receiver is also responding to inquiries and a subpoena from the Department

                                                                14 of Labor and the Employee Benefit Securities Administration regarding potential
                                                                15 outstanding payroll obligations and problems with the 401(k) plan, including the alleged
                                                                16 failure to remit contributions deducted from employee's checks. The Receiver believes
                                                                17 that SiliconSage Builders was both the plan sponsor and the plan administrator, with ADP
                                                                18 acting as a record keeper. The Receiver is attempting to obtain a copy of the plan and
                                                                19 information about it so that he can respond to the inquiries of the Employee Benefit
                                                                20 Securities Administration. The Receiver will work to wind down the 401(k) plan so that
                                                                21 employees can rollover their investments into a qualified plan of their choosing.
                                                                22           The Receiver has engaged Smiley Wang-Ekvall, LLP as counsel to assist with

                                                                23 complexities and legal matters related to the Receiver’s efforts. The Receiver set up a
                                                                24 website for the receivership at www.siliconsagereceivership.com as a resource for
                                                                25 investors and creditors.
                                                                26           B.       Cash on Hand & Receipts & Disbursements

                                                                27           As of the date of appointment, the Receivership Entities had 62 bank accounts at

                                                                28 Chase Bank with a cumulative cash balance of -$6,321 (negative balance). The Receiver

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                                                                 1 established receivership trust accounts to deposit miscellaneous receipts for the
                                                                 2 Receivership Entities. Since the date of the Receiver’s appointment, the Receiver has
                                                                 3 collected $25,160.24 and disbursed $4,654.80. Attached as Exhibit “A” is a summary of
                                                                 4 cash receipts and disbursements for the receivership period through March 31, 2021. As
                                                                 5 stated in the Receiver’s Initial Report, there do not appear to be assets that are easily
                                                                 6 liquidated; however, the summaries in Section II below detail the Receiver’s plan to
                                                                 7 maximize recoveries (“Recovery Plan”) for the receivership estate.
                                                                 8           C.    Receivership Property

                                                                 9           The vast majority of the Receivership Property consists of real property assets

                                                                10 ranging from pre-entitlement to mid-construction projects. A description of all known
                                                                11 Receivership Property is detailed in the Recovery Plan in Section II below.
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                            3200 Park Center Drive, Suite 250




                                                                12           D.    Liquidated and Unliquidated Claims Held by the Receivership Estate
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                                                                13           The Receiver believes that there are claims against Sanjeev Acharya and perhaps

                                                                14 other officers for breach of fiduciary duty that may be covered by the D&O policy held by
                                                                15 SiliconSage Builders. The policy appears to have a limit of $2 million that is presently
                                                                16 being depleted by the fees and costs of Mr. Acharya's counsel in this matter. Because
                                                                17 Mr. Acharya is a chapter 7 debtor, this claim will need to be filed in his bankruptcy case
                                                                18 as an action to determine this debt to be nondischargeable. The Receiver will be seeking
                                                                19 approval to pursue this litigation and to employ Brutzkus Gubner, a firm experienced in
                                                                20 this type of litigation, on a contingency fee basis.
                                                                21           The Receiver has also identified seven purchase contracts involving sixteen

                                                                22 condominium units at Osgood and Almaden that were done in violation of the loan
                                                                23 agreements with Acres and not disclosed to the joint venture partner in Osgood and
                                                                24 Almaden when it agreed to fund the remaining construction at those projects. All of them
                                                                25 appear to have been done in an attempt by Osgood and Almaden and/or their affiliates to
                                                                26 raise money, because they each involve significant deposits that the putative buyers
                                                                27 agreed could be immediately released for use by the seller. The purchase agreements
                                                                28 contain addendums that give Osgood and Almaden the right to sell the units for a higher

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                                                                 1 price and to pay the buyer the amount of the deposit, plus a return. The Receiver
                                                                 2 believes that some or all of these agreements were intended to be loans or investments
                                                                 3 and will be seeking a Court order recharacterizing some or all of them as unsecured
                                                                 4 claims. This would enable the Receiver to free the units for sale at a market price.
                                                                 5           The Receiver is still investigating to determine what other claims the receivership

                                                                 6 estate may hold, but expects to identify additional litigation claims as the administration of
                                                                 7 the receivership estate progresses.
                                                                 8           E.    Known Creditors

                                                                 9           As previously reported, the Receiver has located a list of more than 350 trade

                                                                10 creditors who are owed money by one of the Receivership Entities, although the list does
                                                                11 not identify which Receivership Entities are liable for each debt and only contains mailing
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                                                                12 addresses. Attached as Exhibit “B” is a list of these trade creditors. This list does not
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                                                                13 include secured lenders with liens against property of the receivership estate. The
                                                                14 Receiver has also located a list that contains approximately 678 investments across
                                                                15 approximately 280 individual investors and another list of approximately 107 noteholders.
                                                                16 The Receiver reviewed investor lists and the investor portal maintained by the
                                                                17 Receivership Entities, which reported the total amount of investments to be
                                                                18 approximately $140. 3 million. Additionally, the records of the Receivership Entities
                                                                19 reported the total principal amount of approximately $24.7 related to the 107 notes. It is
                                                                20 unclear how recently these figures were updated and if the investment total is net of
                                                                21 distributions that may have been made, and the Receiver is in the process of performing
                                                                22 an accounting to verify these figures. Because of concerns for the privacy of these
                                                                23 individual investors and noteholders, the Receiver is not attaching these lists to this
                                                                24 status report at this time. This is consistent with the order that the Court recently entered
                                                                25 that granted the Receiver's request to submit declarations regarding service on investors
                                                                26 without listing all of their names and addresses. This issue may be revisited as the case
                                                                27 progresses.
                                                                28

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                                                                 1
                                                                 2 II.       ANTICIPATED RECOVERY PLAN

                                                                 3           A.      Overview and Preliminary Valuation

                                                                 4           The Receiver is in the process of developing individual business plans and

                                                                 5 potential strategies for each specific and standalone project in order to preserve and
                                                                 6 maximize the value of the assets of the receivership estate. Each project has unique
                                                                 7 circumstances and is owned by a separate standalone LLC. Attached as Exhibit “C” is a
                                                                 8 summary of SiliconSage projects and the respective ownership entity. The Receiver has
                                                                 9 been working diligently to formulate creative strategies and solutions that keep the best
                                                                10 interests of the investors and creditors in mind. As part of this process, the Receiver has
                                                                11 been in negotiations with certain of the secured creditors and has been analyzing their
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                                                                12 loans and the overall debt structure of each property to determine which projects are
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                                                                13 worth administering and to determine ways that the Receiver might increase their value
                                                                14 for creditors and investors. The Receiver and counsel have drafted term sheets with
                                                                15 certain lenders to detail the terms of the exit strategy, including the timeline, sale
                                                                16 guidelines and parameters related to the accrual of interest and default interest in the
                                                                17 interim period prior to a sale. Once agreements are reached with the lenders, the
                                                                18 Receiver expects to seek Court approval of them.
                                                                19           At the current time, it appears that the combined gross value for all projects is

                                                                20 approximately $220 - 225 million1 with debt of approximately $184 million,2 costs to
                                                                21 complete of approx. $25 million and property equity – before taking into account investor
                                                                22 capital – ranging from approximately $11- $16 million. The Receiver continues to review
                                                                23 records and update these estimates based on information available to him and his team.
                                                                24
                                                                     1
                                                                       This figure assumes that the Receiver is able to maximize the value of certain projects – including Alum
                                                                25   Rock and Little Portugal – by selling the full assemblage of the land (some of which SSB does not own), as
                                                                     discussed further below.
                                                                26
                                                                     2
                                                                27     This figure represents known debt as of the date of this report. This figure is subject to change based on
                                                                     new information reported by lenders or provided to the Receiver from other sources including title
                                                                28   companies and other creditors, or other documentation found in SSB’s files.



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                                                                 1           The Receiver will provide further updates in future reports. Below is an update of

                                                                 2 current status by project.
                                                                 3           B.        Recovery Efforts by Project

                                                                 4           The Receiver has identified thirteen (13) properties in the receivership estate and

                                                                 5 the Receiver and his team are evaluating each property separately. The current status
                                                                 6 and associated debt of every identified property is outlined in the following:
                                                                 7                i.      Alum Rock – This project, also known as Sunset at Alum Rock, involves

                                                                 8                        plans for an approximately 800-unit development located in San Jose,

                                                                 9                        CA. The project has been submitted to the City and the entitlement

                                                                10                        process is underway. At the current time, the Receivership Entities only

                                                                11                        own a portion of the land assembly required to complete this project. In
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                                                                12                        2018, SiliconSage Fund 1, LLC, a Delaware limited liability company
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                                                                13                        (Series) – Series 4, signed agreements to purchase the other parcels to

                                                                14                        accommodate the development of this project and it appears that it may

                                                                15                        have been in default under those agreements when the Receiver was

                                                                16                        appointed. The Receiver has listed the parcel owned by the

                                                                17                        receivership estate and is working with the brokers to attempt to find

                                                                18                        buyers who may be interested in acquiring the full land-assembly

                                                                19                        required for this project because that would increase the value for all of

                                                                20                        the owners. If it is determined there are buyers interested in the full land-

                                                                21                        assembly, the Receiver will work with the sellers of the adjacent parcels

                                                                22                        to reinstate the prior agreements and to package up a joint sale, which

                                                                23                        the Receiver believes is the best way to maximize the sale price for the

                                                                24                        SiliconSage parcel(s). If it is determined that buyers are not interested in

                                                                25                        the full land-assembly, or that the sellers of the additional non-

                                                                26                        SiliconSage parcels are not willing to sell, the Receiver will review the

                                                                27                        next best plan. Per the Receiver’s preliminary review and discussions

                                                                28                        with lenders, it appears there is $5.5 million of debt on this project. The


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                                                                 1                     Receiver is exchanging term sheets with the lender on this project

                                                                 2                     regarding the timeline, the waiver of default interest, and related

                                                                 3                     matters. In the meantime, the lender filed a motion with the Court

                                                                 4                     seeking an order requiring the Receiver to account for, segregate, and

                                                                 5                     turn over the rent collected on this property from a commercial tenant.

                                                                 6                     The Receiver has no objection in concept to this request given the

                                                                 7                     lender's assignment of rents provision in its deed of trust and expects

                                                                 8                     that a stipulated order will be submitted to the Court.

                                                                 9               ii.   Almaden – This project is a partially-constructed condominium project

                                                                10                     located in San Jose, CA, and the issues impacting it are largely the

                                                                11                     same as the Osgood project discussed below. Both projects were at
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                                                                12                     risk of foreclosure last year when TriGate Capital ("TriGate") agreed to
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                                                                13                     come in as a joint venture partner to fund the remaining construction

                                                                14                     costs as a preferred equity holder of the owner of the project. The

                                                                15                     Receiver has had extensive discussions with both TriGate and the

                                                                16                     secured construction lender, Acres Capital ("Acres"), about funding this

                                                                17                     project to completion. For a number of reasons, the Receiver has

                                                                18                     decided to move forward with Acres and is in the process of finalizing

                                                                19                     that arrangement, which will then be presented to the Court for approval.

                                                                20                     The construction is being managed by Suffolk Construction and Acres is

                                                                21                     making protective advances pending a formal agreement in order to

                                                                22                     make sure construction continues and in an effort to prevent loss of

                                                                23                     future value. Because of their familiarity with this project and their

                                                                24                     relationships with existing buyers, the SiliconSage Builders sales team

                                                                25                     has been maintained. A number of units are already under contract, in

                                                                26                     compliance with the loan agreement with Acres. In the near future, the

                                                                27                     Receiver expects to seek the Court’s approval of procedures for the sale

                                                                28                     of the remaining condominiums in the ordinary course. The value of this


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                                                                 1                      project will be impacted by the outcome of the Receiver's attempt to

                                                                 2                      recharacterize the questionable purchase agreements affecting this

                                                                 3                      project as unsecured claims. Per the Receiver’s preliminary review and

                                                                 4                      discussions with Acres, it appears there is approximately $41 million of

                                                                 5                      secured debt on this project in favor of Acres, with another $1.8 million

                                                                 6                      in favor of certain investors, although the Receiver is reviewing the

                                                                 7                      circumstances under which those liens arose. The estimated cost to

                                                                 8                      complete construction is from $15 to $17 million, which does not include

                                                                 9                      accruing interest on the funds that will be used to pay for these costs.

                                                                10               iii.   Balbach – – This project is a fully-built apartment building located in San

                                                                11                      Jose, CA. The Receiver has engaged a broker and the property is
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                                                                12                      currently listed for sale. Per the Receiver’s preliminary review and
                               Costa Mesa, California 92626




                                                                13                      discussions with lenders, it appears there is approx. $41 million of debt

                                                                14                      on this project between the secured lender and other liens. Based on

                                                                15                      the recommendations of brokers for marketing this project in a manner

                                                                16                      that will maximize value, the Receiver did an initial call for bids on this

                                                                17                      project and is currently going through a second round. The Receiver is

                                                                18                      working with the lender to negotiate loan terms prior to a sale, and term

                                                                19                      sheets are being exchanged. The Receiver’s goal is to sell the project,

                                                                20                      minimize additional interest and default interest and maximize the

                                                                21                      recovery for the investors. Once the highest and best bid is identified,

                                                                22                      the Receiver will submit the sale of this project to the Court for approval.

                                                                23                      Because the Receivership Order gave the Court flexibility in approving

                                                                24                      the procedures for the sale of real property, the Receiver will be

                                                                25                      requesting that the Court approve the procedures utilized by the

                                                                26                      Receiver.

                                                                27               iv.    Franklin (Downtown Gateway) – This project is a fully-built condominium

                                                                28                      project with retail units on the ground floor, located in Santa Clara, CA.


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                                                                 1                     There is significant debt associated with the property, and specifically

                                                                 2                     the retail units. The Receiver has engaged a broker and the retail units

                                                                 3                     have been listed for sale. Per the Receiver’s preliminary review and

                                                                 4                     discussions with lenders, it appears there is $8.6 million of debt on this

                                                                 5                     project. The Receiver is negotiating with the lender regarding this

                                                                 6                     project to try to realize value for it.

                                                                 7               v.    Little Portugal – This is a fully-entitled project located in San Jose, CA.

                                                                 8                     The receivership estate only owns one of the two parcels needed to

                                                                 9                     complete the project according to the submitted plans. In 2018,

                                                                10                     SiliconSage Builders signed an agreement to purchase the adjacent

                                                                11                     parcel for $4.2 million with a deposit of $126,000. That agreement was
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                                                                12                     still pending when the Receiver was appointed. The Receiver has
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                                                                13                     engaged a broker and the parcel has been listed for sale. As with the

                                                                14                     Alum Rock property described above, the Receiver is working with the

                                                                15                     brokers to attempt to find buyers who may be interested in acquiring the

                                                                16                     full land-assembly required for this project. If it is determined there are

                                                                17                     buyers interested in the full land-assembly, the Receiver will work with

                                                                18                     the seller of the adjacent parcel to package up a joint sale, which the

                                                                19                     Receiver believes is the best way to maximize the sale price for the

                                                                20                     SiliconSage parcel. If it is determined that buyers are not interested in

                                                                21                     the full land-assembly, or that the seller of the additional non-

                                                                22                     SiliconSage parcel is not willing to sell, the Receiver will review the next

                                                                23                     best plan. Per the Receiver’s preliminary review and discussions with

                                                                24                     lenders, it appears there is $2.0 million of debt on this project.

                                                                25                     Discussions with the lender about a timeline and a favorable

                                                                26                     modification of the terms of the loan are ongoing.

                                                                27               vi.   Mathilda 2 – This property consists of existing structures with both

                                                                28                     commercial and residential tenants located in Sunnyvale, CA, directly


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                                                                 1                       adjacent to the SiliconSage corporate office. The Receiver is collecting

                                                                 2                       rent from the commercial tenants. The residential tenants consist of

                                                                 3                       former SiliconSage employees and they are not currently paying rent.

                                                                 4                       The Receiver is working to establish a rental agreement with the current

                                                                 5                       tenants or a plan to vacate the units. The long-term plan was to entitle

                                                                 6                       this property to build a condominium development. At the time of the

                                                                 7                       Receiver’s appointment, the owner was in the process of completing a

                                                                 8                       Specific Plan Amendment to achieve additional density

                                                                 9                       accommodations for the project. Per the Receiver’s preliminary review

                                                                10                       and discussions with the lenders, it appears there is $5.9 million of debt

                                                                11                       on this project. The Receiver is negotiating with the lender about a
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                                                                12                       timeline and favorable loan modifications, with discussions ongoing.
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                                                                13               vii.    Monroe (Madison Place) – This project is a fully-built condominium

                                                                14                       project with retail units on the ground floor that are part of the

                                                                15                       receivership estate. The condominium units have already been sold.

                                                                16                       There is significant debt associated with the retail units. The Receiver

                                                                17                       has engaged a broker and the retail units have been listed for sale. Per

                                                                18                       the Receiver’s preliminary review and discussions with the lender, it

                                                                19                       appears there is $6.1 million of debt on this project. The Receiver is

                                                                20                       negotiating with the lender about a timeline and favorable loan

                                                                21                       modifications, with discussions ongoing.

                                                                22               viii.   Osgood – The project is similar to Almaden and is a partially-

                                                                23                       constructed condominium project, although this project is farther along

                                                                24                       than the Almaden project. The Receiver has determined that there is

                                                                25                       approximately $45 million in secured debt in favor of Acres, plus a lien of

                                                                26                       approximately $570,000 in favor of an investor that the Receiver is

                                                                27                       reviewing. The estimated cost to complete construction on this project

                                                                28                       is about $6 to 8 million, although this figure does not include interest on


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                                                                 1                     the funds to be borrowed to pay construction costs. As with the

                                                                 2                     Almaden project, the value of this project will be impacted by the

                                                                 3                     outcome of the motions to recharacterize the suspicious purchase

                                                                 4                     agreements as unsecured claims. Once an agreement with the existing

                                                                 5                     lender is reached and documented, the Receiver will seek the approval

                                                                 6                     of the Court.

                                                                 7               ix.   Osgood 2 – The project has been submitted for entitlement and the

                                                                 8                     approval is almost complete. The property is currently occupied by the

                                                                 9                     warehouse that is needed for the construction of the Osgood project.

                                                                10                     The property has been listed for sale. Per the Receiver’s preliminary

                                                                11                     review and discussions with lenders, it appears there is $9.3 million of
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                            3200 Park Center Drive, Suite 250




                                                                12                     debt on this project. The Receiver is in discussions with the lender
                               Costa Mesa, California 92626




                                                                13                     regarding the timeline and the terms of the loan post-receivership.

                                                                14               x.    Peralta (Centerville Station) – The project has been fully entitled. The

                                                                15                     land has been demolished and trenched. The property has been listed

                                                                16                     for sale. Per the Receiver’s preliminary review and discussions with

                                                                17                     lenders, it appears there is $16.6 million of debt on this project and

                                                                18                     discussions with the lender are ongoing.

                                                                19               xi.   Walnut Morgan Hill – The ownership of this entity, which owns a parcel

                                                                20                     of land in Morgan Hill, CA, is disputed. Prior to the appointment of the

                                                                21                     Receiver, SiliconSage Builders held the membership interest in this

                                                                22                     entity. In September 2020, SiliconSage Builders transferred its

                                                                23                     membership interest to an investor in the project, allegedly as partial

                                                                24                     payment of some investments in the SiliconSage Bridge Fund and this

                                                                25                     entity. The Receiver is reviewing the circumstances surrounding this

                                                                26                     transfer to determine if it was a constructive or actual fraudulent transfer

                                                                27                     and to determine whether this entity is properly listed as one of the

                                                                28                     Receivership Entities. Per the Receiver’s preliminary review and


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                                                                 1                       discussions with lenders, it appears there is $1.3 million of debt on this

                                                                 2                       project.

                                                                 3               xii.    Hayward – At the time of the Receiver’s appointment, there was a sale

                                                                 4                       pending for a townhome located at 106 B Street, Hayward, CA.

                                                                 5                       Pursuant to the terms of the Receivership Order, the Receiver elected to

                                                                 6                       proceed with the sale. The Receiver obtained an order from the Court

                                                                 7                       approving this sale. The sale is expected to generally approximately

                                                                 8                       $450,000 for the receivership estate and is expected to close within the

                                                                 9                       next few weeks.

                                                                10               xiii.   SiliconSage Corporate Office – There is significant debt associated with

                                                                11                       the property and it has been listed for sale. Per the Receiver’s
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                                                                12                       preliminary review and discussions with lenders, it appears there is $4.3
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                                                                13                       million of debt on this project. Discussions with the lender are ongoing.

                                                                14           In addition to these assets, there are miscellaneous personal property assets

                                                                15 consisting of construction equipment, tools, construction materials, office furniture and
                                                                16 equipment, computers and other items. Some, if not all, of this property may be subject
                                                                17 to liens. While the Receiver does not believe there to be significant value attributed to
                                                                18 these items, he will determine if there is value in excess of the liens and assess the ability
                                                                19 to liquidate these items to generate cash for the receivership estate. There is also leased
                                                                20 equipment that the Receiver is determining whether to retain because it is necessary for
                                                                21 the Osgood or Almaden projects or to return .
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                                                                 1 III.      MISCELLANEOUS ITEMS

                                                                 2           A.    Pending Litigation Against the Receivership Entities for Which

                                                                 3                 Insurance Coverage May Be Available

                                                                 4           As of the time of the Receiver's appointment, there was litigation pending against it

                                                                 5 in state court by former employees for alleged wage and hour violations. The Receiver is
                                                                 6 informed by the attorney representing the Receivership Entities that a settlement
                                                                 7 involving the insurance company under which the insurance company would provide
                                                                 8 funds to settle the litigation was close to being finalized. The Receiver is likely to seek an
                                                                 9 order in the near future modifying the injunction in this case to permit these plaintiffs to
                                                                10 recover from the insurance policy in exchange for waiving any claims against the
                                                                11 receivership estate.
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                                                                12           One or more of the Receivership Entities was also a defendant in various
                               Costa Mesa, California 92626




                                                                13 construction defect cases or claims. The Receiver is in the process of getting more
                                                                14 information from the attorney who was handling these claims and, similar to the likely
                                                                15 treatment with the former employees, may agree to seek an order modifying the
                                                                16 injunction to permit the plaintiffs to seek recovery from the applicable insurance policies
                                                                17 in exchange for waiving any claim against the receivership estate.
                                                                18           B.    Issues Regarding Ownership of 2101 Alum Rock LLC

                                                                19           The Alum Rock project described above was acquired through a newly-formed

                                                                20 entity, 2101 Alum Rock, LLC. The Court recently issued an order granting the Receiver's
                                                                21 request to clarify that this entity is one of the Receivership Entities. Its membership units
                                                                22 appear to be held by Alum Rock Development, LLC, another Receivership Entity that was
                                                                23 not explicitly listed, and Charles F. Johnisee, as trustee of The Charles F. Johnisee Living
                                                                24 Trust dated December 23, 2003 (the "Johnisee Trust"). Mr. Acharya formed Alum Rock
                                                                25 Developments, LLC, at the same time that 2101 Alum Rock was formed. The Johnisee
                                                                26 Trust notified the Receiver's counsel on April 24, 2021, that it was exercising its right to
                                                                27 purchase the membership interests of Alum Rock Development, LLC, for $100. The
                                                                28 Receiver contests its ability to exercise this right given the injunction against interference

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                                                                 1 with the Receiver contained in the Receivership Order. The Receiver anticipates this
                                                                 2 issue may need to be resolved as part of any motion to distribute the net proceeds from
                                                                 3 the sale of the property owned by 2101 Alum Rock, LLC. As he did with 2101 Alum
                                                                 4 Rock, the Receiver may seek entry of an order that makes clear that Alum Rock
                                                                 5 Development, LLC, is a Receivership Entity.
                                                                 6            C.      Waiver of the Attorney-Client Privilege of the Receivership Entities

                                                                 7            Upon his appointment, the Receiver assumed control of the Receivership Entities'

                                                                 8 attorney-client privilege with their counsel. The U.S. Attorney's Office has requested that
                                                                 9 the Receiver waive this privilege. Given that Mr. Acharya has stipulated to a consent
                                                                10 judgment in this case that limits his ability to challenge key allegations, the Receiver
                                                                11 believes that a waiver of the privilege is appropriate and upon entry of an order approving
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                                                                12 this report, intends to waive it. This waiver would only apply to the Receivership Entities
                               Costa Mesa, California 92626




                                                                13 and as to material requested by the U.S. Attorney's Office as part of its investigation.
                                                                14            D.      Status of Obtaining Bank Records from Chase Bank

                                                                15            Although the Receiver has obtained access to certain of the accounts held at

                                                                16 Chase Bank by the Receivership Entities, as of the date of this report, he is having
                                                                17 difficulty gaining access to approximately 32 accounts, allegedly because it is Chase's
                                                                18 policy to close an account and terminate electronic access when the account has had a
                                                                19 negative balance for more than 60 days3. Electronic data is significantly more efficient to
                                                                20 use and analyze than hard copies of bank statements, deposited items, and cancelled
                                                                21 checks. Consistent with Section III of the Order, the Receiver requests that in approving
                                                                22 this Report, the Court order Chase (a) to provide electronic access to all accounts held by
                                                                23 the Receivership Entities at Chase Bank in electronic format within 5 days of receipt of
                                                                24 this order and (b) place a bar on closing additional accounts during the pendency of the
                                                                25 receivership action or until which time the Receiver authorizes Chase to close accounts.
                                                                26
                                                                27
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                                                                         The account balances were negative at the time of the Receiver’s appointment.
                                                                28

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                                                                 1 IV.       CONCLUSION

                                                                 2           The Receiver requests that the Court enter an order:

                                                                 3           (1)   approving this Status Report;

                                                                 4           (2)   authorizing the Receiver to waive the attorney-client privilege of the

                                                                 5 Receivership Entities as to materials requested by the U.S. Attorney's Office as part of its
                                                                 6 investigation; and
                                                                 7           (3)   requiring Chase Bank, N.A. to provide electronic access to all accounts held

                                                                 8 by the Receivership Entities at Chase Bank within five days of receipt of the Order so
                                                                 9 requiring and prohibiting Chase Bank from closing any bank accounts until the Receiver
                                                                10 authorizes it to do so.
                                                                11
SMILEY WANG-EKVALL, LLP

                          Tel 714 445-1000 • Fax 714 445-1002
                            3200 Park Center Drive, Suite 250




                                                                12
                               Costa Mesa, California 92626




                                                                13 DATED: April 30, 2021                    Respectfully submitted,

                                                                14                                          SMILEY WANG-EKVALL, LLP
                                                                15
                                                                16                                          By:           /s/ Kyra E. Andrassy
                                                                17                                                 KYRA E. ANDRASSY
                                                                                                                   Attorneys for David Stapleton, Receiver
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         EXHIBIT "A"
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                                  EXHIBIT A
                Period beginning 2/10/21 - 3/31/21 (Q1 Report)




          RECEIPTS

          Misc. Receipts / Refunds                                23,660
          Rental Income                                            1,500
           TOTAL RECEIPTS                                        25,160

          DISPURSEMENTS

          Computer Tech / Software Expenses                        2,304
          General & Admin Expenses                                   144
           TOTAL DISPURSEMENTS                                    2,448

          TOTAL CASH                                             22,713




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                                            EXHIBIT B
No.   Creditor                                          Invoice Balance per SSB
  1   138 Balbach, LLC                                                  18,871
  2   34th Alum Rock Holding Company, LLC                               12,384
  3   3PEX                                                               1,800
  4   A&D Automatic Gate Company                                        69,350
  5   Able Glass                                                           998
  6   Access Hardware Supply                                             2,539
  7   ACIES Engineering                                                134,364
  8   Acies Engineering                                                  1,600
  9   ADEMCO INC., DBA ADI                                              15,417
 10   ADP,LLC                                                              703
 11   ADR Services                                                       3,375
 12   AECOM Technical Services, Inc                                        473
 13   AECOM Technical Services, Inc.                                     9,202
 14   AEI Consultants                                                    6,100
 15   Ahern Rentals                                                     37,435
 16   Alameda County Water District                                     11,743
 17   Albion Environmental, Inc.                                         1,218
 18   Alcal Speciality Contracting, Inc.                                29,071
 19   All American Overhead Door                                           820
 20   All Environmental, Inc.                                            4,500
 21   All Seasons Roofing & Waterproofing, Inc.                         75,037
 22   Almetek Industries, Inc.                                             202
 23   Alpine Pacific Advisors LLC                                        1,565
 24   American Glazing & Aluminum, Inc.                                  7,970
 25   American Woodmark Corporation                                        950
 26   Ames Taping Tools                                                  2,150
 27   Angel's Lacksmith                                                    270
 28   Appel & Henick LLP                                                 2,104
 29   ARGUS Software Inc.                                                  870
 30   Arrow Asphalt                                                      2,750
 31   Artisan Design Group,                                             14,552
 32   Ascent Environmental, Inc.                                        24,410
 33   Atlas Private Security , Inc.                                     38,890
 34   Automatic Data Processing Tax Filing Service                       3,342
 35   Axent Interior Design                                                518
 36   Azul Works, Inc.                                                   2,557
 37   BAFP INC DBA Bay Area Fire Protection                                108
 38   Barkerblue                                                         4,494
 39   Barnhart Economic Services, LLC                                    2,100
 40   Bay Area Fire Protection                                           1,244
 41   Bay Area High Reach, Inc.                                          5,013
 42   Bay Power Inc                                                     13,535
 43   Bay Stone                                                          9,265
 44   Beam Insurance Administrators LLC                                 (8,652)
 45   Bear electrical Solutions                                         83,468



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No.   Creditor                                        Invoice Balance per SSB
 46   BELFOR USA Group, Inc.                                          19,652
 47   Bell Electrical Supply, Inc.                                       860
 48   Benefit Resource, LLC                                              400
 49   BFFC INC                                                       152,534
 50   Big Joe handling Systems,Inc.                                    1,000
 51   Biggs Cardosa Associates, Inc.                                   1,762
 52   BKF Engineers                                                   81,561
 53   Black Spectacles                                                 1,166
 54   Blackwell General Engineering, Inc.                             32,841
 55   Bluebeam, Inc.                                                  16,873
 56   Bluprint Bound, Inc.                                            30,289
 57   Booster Fuels, Inc.                                              2,418
 58   Borrecco/Killan & Associates, Inc.                               2,380
 59   Brady Seal, Inc.                                                 2,215
 60   Builder's Digital Experience, LLC                                  675
 61   Builder's Drapery Service, Inc.                                  4,329
 62   Building Talent                                                 47,000
 63   Business New Magazine                                            2,950
 64   ButterflyMX                                                      3,030
 65   Cadworld Infosystems Private LImited                             2,590
 66   California Air Duct Testers, Inc.                               11,200
 67   California Cut & Core, Inc.                                      7,448
 68   California Fire Systems Inc.                                    72,096
 69   Callander Associates                                            42,330
 70   Canon Financial Services, Inc.                                     607
 71   Canon Solutions America, Inc.                                    7,187
 72   Carefree Toland pools, Inc.                                     83,574
 73   Carlton Fields                                                     -
 74   CED Bay Area                                                    34,890
 75   Charles M Salter Associates Inc.                                77,586
 76   Chrisp Company                                                   9,546
 77   City Of Fremont                                                  5,687
 78   City Of Fremont Code Enforcement                                 7,400
 79   City Of Morgan Hill                                             45,915
 80   City Of San Jose                                                28,714
 81   City of santa clara                                                480
 82   City Of Santa Clara Municipal Utilities                          1,190
 83   City of Sunnyvale-Utilities                                     45,929
 84   Clarivate Analytics (Compumark) Inc.                             1,010
 85   Cogency Global Inc.                                              9,924
 86   Cogent Communications, Inc.                                      6,799
 87   Community Seva Inc                                               1,500
 88   Concentra                                                          242
 89   Construction Testing services, Inc.                             10,223
 90   Contract Floor Corverings, Inc.                                    -
 91   CoreLogic Credco, LLC                                             (133)
 92   Cornish & Carey Commercial, Inc.                                31,541




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No.   Creditor                                        Invoice Balance per SSB
 93   Corodata Shredding, Inc.                                            20
 94   Cortron Systems, Inc.                                            1,081
 95   Costa & Costa LLP                                                9,137
 96   County of santa clara                                              809
 97   Cox, Castle & Nicholson LLP                                         18
 98   CT Corporation                                                     550
 99   Custom Tool Repair                                                 193
100   Cypress Group                                                   40,000
101   D & D Windows                                                   82,666
102   Daedalus Structural Engineering, Inc.                           18,125
103   David J. Powers & Associates, Inc.                                  85
104   Davison Associates, Inc.                                        20,000
105   DBA Bay Area Fire Protection                                     1,164
106   DCI Engineers                                                   47,750
107   Dell Marketing L.P                                               3,297
108   Detail Construction & Waterproofing, Inc.                      134,085
109   Diamond Doors, Inc.                                                422
110   Dimetrius Painting II,Inc                                       18,760
111   Direct Fairways                                                    850
112   DMV                                                              4,389
113   Dollar Rent A Car                                                  314
114   Don Ramatici Insurance, Inc.                                    (5,347)
115   Donald Foster D.D.S                                                528
116   Dowell LLP                                                       6,100
117   Dun & Bradstreet                                                33,333
118   Dwelling Live, Inc                                               5,571
119   E.J. Pires Trucking , Inc.                                         132
120   EBA&M Corporation                                               13,006
121   EI Engineering, Inc.                                           191,190
122   Ellie Mae, Inc.                                                  7,238
123   Empire Quality Painting Inc.                                    10,000
124   EQ Professional Ins. Assoc.                                    554,074
125   Ewing Irrigation PRD                                               490
126   Express Fence, LLC                                              29,643
127   Fast care, Inc.                                                  1,892
128   Fastsigns                                                        8,907
129   FastSpring                                                         160
130   FBA, Inc., Structural Engineers                                141,000
131   Ferma Corporation                                                1,396
132   Firesprink Designs Inc.                                          1,950
133   First Alarm                                                     12,010
134   First Nations Home Finance                                       2,500
135   First Trust Alarm Company, Inc.                                 63,277
136   Fitness Ventures International, LLC                             12,355
137   Foster Brothers Security System, Inc.                           15,279
138   Fountaine Information Systems, Inc.                                992
139   Fox, Wang & Morgan P.C                                          18,640




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No.   Creditor                                             Invoice Balance per SSB
140   Foxspin LLC                                                             999
141   Fremont Peralta Holding Company, LLC                                150,588
142   Frontier Building Products Pacific, Inc.                             73,685
143   Gaea Global Technologies, Inc.                                       22,400
144   Garcia's Gutter                                                       1,248
145   Garney Construction                                                  99,717
146   Genesis Capital Group                                                 4,047
147   GeoRestoration, Inc.                                                 35,817
148   Global Equipment Company, Inc.                                         (577)
149   Global Software, LLC                                                  5,056
150   GMEI                                                                     91
151   GoKeyless.com                                                           381
152   Golden State Reprographics                                              144
153   Goldenstate Lumber                                                    3,849
154   Google Voice Inc.                                                        42
155   Gordon&Rees                                                           8,360
156   Grainger                                                              1,566
157   Green Team Of San Jose A Waste Connections Company                    8,606
158   Groom & Cave, LLP                                                     1,680
159   Hall & Company                                                        5,200
160   Hanna and Van Atta                                                  142,876
161   Harbir K Bhatia                                                     130,378
162   Hard Rock Concrete, Inc.                                            334,349
163   Hardesty + Associates, Inc.                                           2,823
164   Harris Blade Rental                                                   1,419
165   HD Supply Construction And Industrial - White Cap                     5,080
166   Heath Stairworks, Inc.                                                9,438
167   Hedge Point Financial, LLC                                            3,500
168   Henry C. Levy, Tax Collector, Alameda County                         41,547
169   Henry's Kitchen & Bath Refinishing                                      685
170   High End Development, Inc.                                           22,951
171   Hilti Inc.                                                            2,860
172   Hohbach-Lewin,inc                                                    28,649
173   Home Site services, Inc.                                             16,689
174   I Metal, Inc.                                                        48,223
175   Ichor Restoration                                                     6,300
176   Illingworth & Rodkin, Inc.                                            8,939
177   InFocus Safety Solutions, Inc.                                       44,800
178   Insight Advisors LLC                                                 35,000
179   Interface Engineering, Inc.                                          28,717
180   Interior Trim Specialists, Inc.                                      18,940
181   Internal Revenue Service                                                261
182   Irvington Business Association                                           40
183   ITR Cleaning Services                                                   200
184   J R Drywall INC                                                       2,700
185   J&L Sound and Video Security Systems Inc.                             2,000
186   J.A.R. Underground Electric, Inc.                                    16,539




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No.   Creditor                                                  Invoice Balance per SSB
187   J.R. Corelli Associates, Inc. dba Lakeview Custom Coach                  114,450
188   Jalsa Catering & Events                                                    2,749
189   JENSEN HUGHES, INC.                                                       12,954
190   JMH Weiss, Inc.                                                           48,608
191   Johnstone Supply                                                           1,771
192   Joseph J. Albanese, Inc.                                                   1,309
193   K & H Photography                                                          2,032
194   Kaiser Foundation Health Plan                                            365,812
195   KBB M & A LLC                                                              5,000
196   Kelly-Moore Paint Company, Inc.                                           51,906
197   KHA Consultants, PLLC.                                                     2,800
198   Kitchen Fantastic                                                         10,775
199   Kompan, Inc.                                                               8,287
200   Kontakt Micro-Location Sp. z o.o.                                            249
201   KPFF consulting engineers                                                 12,097
202   KRH Staffing, LLC                                                          1,500
203   KTGY Architecture + Planning                                               4,050
204   Kunde Legacy LP                                                          166,713
205   L A Finish Carpentry Inc                                                  13,500
206   La Jolla Pacific Of California, LTD                                       14,950
207   Larry Methvin Installation, Inc.                                          25,000
208   LB Painting                                                               11,000
209   Liberty Mutual Insurance                                                   3,642
210   Lily Quan                                                                 11,600
211   Link Age Inc                                                               8,000
212   LJP Construction Services                                                    417
213   LogMeIn USA, Inc.                                                              88
214   Lubin Olson & Niewiadomski LLP                                            13,430
215   Mantel & Fireplace, Inc.                                                   2,700
216   Marble Palace Inc.                                                        25,800
217   Marketshare Inc                                                           37,712
218   McGinnis Chen Associates Inc                                               2,380
219   Mcgranite                                                                    300
220   MCH Electric, Inc.                                                       124,199
221   McSherry & Hudson, LLC                                                    81,065
222   Medlin & Hargrave, P.C.                                                    1,157
223   MERSCORP Holdings, Inc.                                                      264
224   Meyers Research, LLC                                                      47,660
225   MGR Cleanup, Inc.                                                            700
226   Michael Page International Inc.                                           24,200
227   Minol, Inc.                                                               73,175
228   Mission Trail Waste Systems, Inc.                                            -
229   MK Engineering, Inc.                                                       5,250
230   Mobile Modular                                                               238
231   Morrison Hershfield Corporation                                              842
232   Moss Adams LLP                                                            23,205
233   Motivational Systems Inc                                                   3,135




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No.   Creditor                                        Invoice Balance per SSB
234   My Parking Sign                                                    139
235   Neptune Water Solutions                                          1,424
236   New Home Professionals                                           5,938
237   NorCal Lumber                                                   60,551
238   Norman S. Wright Mechanical Equip. Corp.                        87,924
239   NTS Mikedon, LLC                                                 6,880
240   Nu Wood Design                                                 117,417
241   NVC Framing Inc                                                  3,455
242   Occupational Health centers                                        852
243   Oldcastle Infrastructure                                        (2,607)
244   On-Site Health & Safety                                          1,615
245   Oracle America, Inc.                                           100,740
246   Pace Supply Corp                                                57,077
247   Palmer Group LLC                                                 2,079
248   Partner Energy                                                     236
249   Paule, Camazine & Blumenthal, P.C.                               1,960
250   Peninsula Building Materials Co.                                 8,026
251   Petersendean Roofing and Solar Systems                          68,406
252   PG&E                                                            21,568
253   Praxair Distribution, Inc.                                       1,823
254   Presidio Systems,Inc.                                            3,750
255   PrintPapa                                                          829
256   Procore Technologies, Inc.                                     (30,260)
257   Professional Ins. Assoc., Inc.                                 157,617
258   Project Approval Services                                        8,500
259   PropertyBlastHomes                                              16,504
260   Quality Produce                                                  3,180
261   Quick SWPPP Corporation                                          4,560
262   R & B Company                                                    2,257
263   R2R Media Sloutions LLP                                          1,135
264   Rand Worldwide Subsidiary, Inc                                  66,230
265   Reaco heating & Air Conditioning, Inc.                             -
266   Ready Hoist, Inc                                                10,990
267   Rebuild Green                                                  355,183
268   Red Cloud, Inc.                                                 49,221
269   RegasGroup                                                         350
372   Regus Management Group, LLC                                     13,317
270   Republic Services                                               25,760
271   Revelare Group LLC                                             118,000
272   Richard Haro Construction                                        5,000
273   Robert D. Peterson Law Corporation                               7,955
274   Robert Half Finance & Accounting                                 7,000
275   Rockridge Geotechnical, Inc.                                    67,395
276   Rodriguez Concrete Construction                                 22,700
277   Rosa's Cleaning Services                                           143
278   Royal wholesale Electric                                           755
279   S.J. General Building Maintenance, Inc.                         19,378




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No.   Creditor                                        Invoice Balance per SSB
280   Safe2core                                                        3,431
281   Sage Software, Inc.                                              7,986
282   Salis Law                                                       23,313
283   San Jose Jazz                                                   20,000
284   San Jose water Company                                          14,520
285   Sanchez Concrete Pumping                                         8,130
286   Sandman Inc., dba Star Concrete                                  3,836
287   Santa Clara Police Activities League                             2,500
288   SCC DTAC                                                       118,079
289   Secretary Of State                                                  26
290   Sesha Sai Patro                                                    625
291   Signal 88, LLC.                                                  1,600
292   Signcraft                                                       10,805
293   Simba Solutions Inc                                              5,025
294   Simple Air                                                       5,980
295   SJP Signs Inc                                                    7,500
296   Skidmore, Owings & Merrill LLP                                 209,517
297   Slakey Brothers Inc.                                            51,400
298   Slama Door Co.                                                  27,927
299   Smiota Inc.                                                     13,912
300   Sound-Crete Contractors Inc.                                   103,110
301   SPUR                                                            15,000
302   St. Anton Communities, LLC                                       5,000
303   ST. Francis Electric                                            62,741
304   Starstone National Insurance Company                           648,207
305   Steeler Inc.                                                    10,699
306   Stevens Creek Quarry, Inc.                                         -
307   Stratus information systems                                        181
308   Strouss Brothers Construction Inc.                              66,720
309   Stucco Supply Company                                           58,078
310   Sudhir Pai CPA PLLC                                             16,354
311   Summit Hosting, LLC                                                658
312   Sunnyvale Chamber Of Commerce                                    1,750
313   Superior Kitchen Cabinets Inc.                                  17,238
314   SwagWorx                                                         2,502
315   Tarrar Utility Consultants, Inc.                                20,485
316   Terra Pacific Waste Management                                  11,809
317   The Backflow Guy Inc.                                            4,140
318   The Concord Group                                               38,025
319   The Fire Consultants, Inc.                                       3,600
320   The home depot                                                     -
321   The Honey Ladies                                                 1,400
322   The Lighting Source LLC                                            544
323   The Moulding Company                                             6,357
324   The Scaffold Works,Inc.                                        159,141
325   The Silicon Valley Organization PAC                                999
326   Thomas Baak & Associates                                         5,325




                                                                     Exhibit "B", Page 23
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No.   Creditor                                            Invoice Balance per SSB
327   Thorpe Design, Inc                                                  25,540
328   Three Alarm Electrical Systems Inc.                                  1,925
329   Three Alarm Fire Protection, Inc.                                    1,020
330   Thyssenkrupp Elevator Corporation                                   42,829
331   TJKM                                                                26,955
332   Todd Rothbard                                                        5,549
333   Top Line Showers Doors And Mirrors Inc                              15,513
334   Trans Bay Elevator Corp                                                100
335   Trencore plastering, Inc.                                          322,684
336   Tri City Rock, Inc.                                                 19,268
337   Triax Technologies, Inc.                                            13,749
338   Tri-County Insulation                                              116,594
339   U S Legal Support, Inc.                                              2,397
340   U.S. Healthworks Medical Group, Pc                                     447
341   UMO. Steel Inc.                                                      3,837
342   Underwood & Rosenblum, Inc                                           5,585
343   Union Sanitary District                                              5,434
344   United Healthcare Insurance                                         33,224
345   United Rentals, Inc.                                                34,095
346   United Site Services of California, Inc.                             5,882
347   US Alarm/Additional Technology Security, Inc.                        3,209
348   US Natural Stone                                                   176,549
349   Utilities Management Concepts Inc.                                     968
350   Van De Poel, Levy, Arneal & Serot, LLP                              17,928
351   Venture Underwriters                                                64,267
352   Vintage Design Incorporated                                         50,041
353   Vistacom DBS Inc.                                                   33,360
354   VJ Concrete                                                          1,950
355   Wayfair, LLC.                                                       80,190
356   Wayne Salvatore                                                      8,100
357   Wells Fargo Vendor Financial Services, LLC                           6,973
358   Western Abatement, Inc.                                            131,198
359   Western Site Services LLC                                           14,658
360   What's Happening Inc                                                   500
361   Whirlpool Corporation                                               68,009
362   William Brewer                                                       1,600
363   Williams Scotsman, Inc.                                              1,247
364   Wind River Services Inc.                                               452
365   Window Fashions of Northern California, Inc.                         9,871
366   Wood Haven, Inc.                                                    63,735
367   Woodmont Real Estate Services, L.P.                                  6,444
368   Yardi Systems,Inc.                                                   2,800
369   Zi Zi                                                                1,800
370   Zillow Group, Inc                                                    5,933
371   Zoom Video Communications Inc.                                         905
      Grand Total                                     $              10,572,023




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         EXHIBIT "C"
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                                 EXHIBIT "C"

      Project Name                    Ownership Entity
      Sunset at Alum Rock             2101 Alum Rock LLC
      Almaden                         1821 Almaden LLC
      Balbach                         180 Balbach LLC
      Franklin (Downtown Gateway)     1313 Franklin LLC
      Hayward                         B Street Hayward LLC
      Little Portugal                 Little Portugal Gateway LLC
      Mathilda 2                      528 Mathilda LLC
      Monroe (Madison Place)          1460 Monroe LLC
      Osgood                          Osgood LLC
      Osgood 2                        Sage at Irvington LLC
      Peralta (Centerville Station)   Peralta at Fremont LLC
      Walnut Morgan Hill              Walnut Morgan Hill LLC
      SiliconSage Home Office         SiliconSage Builders LLC




                                                                    Exhibit "C", Page 25
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                                                                  1                                    PROOF OF SERVICE

                                                                  2 STATE OF CALIFORNIA, DISTRICT COURT, NORTHERN DISTRICT

                                                                  3       At the time of service, I was over 18 years of age and not a party to this action. I
                                                                    am employed in the County of Orange, State of California. My business address is 3200
                                                                  4 Park Center Drive, Suite 250, Costa Mesa, CA 92626.

                                                                  5         On 4/30/2021, I served true copies of the following document(s) described as FIRST
                                                                      QUARTERLY REPORT AND RECOVERY PLAN on the interested parties in this action as follows:
                                                                  6
                                                                                                 SEE ATTACHED SERVICE LIST
                                                                  7
                                                                    (X) (BY COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to United
                                                                  8 States District Court, Central District of California, Local Civil Rule 5-3, the foregoing

                                                                  9 document will be served by the court via NEF and hyperlinked to the document. On
                                                                    4/30/2021, I checked the CM/ECF docket for this case and determined that the
                                                                 10 aforementioned person(s) are on the Electronic Mail Notice List to receive NEF
                                                                    transmission at the email address(es) indicated.
                                                                 11 (X) (BY U.S. MAIL). I enclosed the document(s) in a sealed envelope or package and
                                                                    placed the envelope for collection and mailing, following our ordinary business practices.
SMILEY WANG‐EKVALL, LLP

                          Tel 714 445‐1000 • Fax 714 445‐1002




                                                                 12
                             3200 Park Center Drive, Suite 250




                                                                    I am readily familiar with the practice of Smiley Wang-Ekvall, LLP for collecting and
                               Costa Mesa, California 92626




                                                                 13 processing correspondence for mailing. On the same day that correspondence is placed
                                                                    for collection and mailing, it is deposited in the ordinary course of business with USPS in
                                                                 14 a sealed envelope with postage fully prepaid. I am a resident or employed in the county
                                                                    where the mailing occurred. The envelope was placed in the mail at Costa Mesa,
                                                                 15 California.
                                                                    ( ) (BY E-MAIL). By scanning the document(s) and then e-mailing the
                                                                 16
                                                                    resultant pdf to the e-mail address indicated above per agreement. Attached to
                                                                 17 this declaration is a copy of the e-mail transmission.
                                                                    ( ) (BY FACSIMILE). I caused the above-referenced documents to be
                                                                 18 transmitted to the noted addressee(s) at the fax number as stated. Attached to this
                                                                    declaration is a "TX Confirmation Report" confirming the status of transmission.
                                                                 19 Executed on ____________, at Costa Mesa, California.
                                                                    ( ) STATE I declare under the penalty of perjury under the laws of the State of
                                                                 20
                                                                    California that the above is true and correct.
                                                                 21
                                                                    (X) FEDERAL I declare that I am employed in the office of a member of the bar
                                                                 22 of this court at whose direction the service was made.

                                                                 23         Executed on April 30, 2021, at Costa Mesa, California.
                                                                 24

                                                                 25                                                     /s/ Lynnette Garrett
                                                                 26                                               Lynnette Garrett

                                                                 27

                                                                 28
                                                                        Case 3:20-cv-09247-SI Document 117 Filed 04/30/21 Page 32 of 32




                                                                  1                                       SERVICE LIST

                                                                  2 BY COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”):

                                                                  3
                                                                           Kyra Elizabeth Andrassy
                                                                  4         kandrassy@swelawfirm.com,jchung@swelawfirm.com,lgarrett@swelawfirm.
                                                                            com,gcruz@swelawfirm.com
                                                                  5        Tamar M. Braz
                                                                            brazt@sec.gov
                                                                  6        Susan Scott Davis
                                                                            sdavis@coxcastle.com
                                                                  7
                                                                           Robert Paul Goe
                                                                  8         rgoe@goeforlaw.com,kmurphy@goeforlaw.com
                                                                           Mitchell Bruce Greenberg
                                                                  9         mgreenberg@abbeylaw.com,mmeroney@abbeylaw.com
                                                                           John Henry Hemann
                                                                 10         jhemann@cooley.com,mnarvaez@cooley.com
                                                                 11        Douglas Dalton Hughmanick
                                                                            dhughmanick@terra-law.com
SMILEY WANG‐EKVALL, LLP

                          Tel 714 445‐1000 • Fax 714 445‐1002




                                                                 12        Monique Jewett-Brewster
                             3200 Park Center Drive, Suite 250




                                                                            mjb@hopkinscarley.com,eamaro@hopkinscarley.com
                               Costa Mesa, California 92626




                                                                 13        Wm. Thomas Lewis
                                                                            wtl@roblewlaw.com,kimwrenn@msn.com
                                                                 14        Amy Jane Longo
                                                                 15         longoa@sec.gov,simundacc@sec.gov,irwinma@sec.gov
                                                                           James Alan McDaniel
                                                                 16         jmcdaniel@terralaw.com,dhawes@terralaw.com
                                                                           Walker Samuel Newell
                                                                 17         wnewell@cooley.com,efiling-notice@ecf.pacerpro.com,avera@cooley.com
                                                                           Randy Phillip Orlik
                                                                 18         rorlik@coxcastle.com
                                                                 19        Parkview Financial REIT LP
                                                                            paul@parkviewfinancial.com
                                                                 20        Meena Sathappan, TTE
                                                                            mjb@hopkinscarley.com
                                                                 21        Joshua Louis Scheer
                                                                            jscheer@scheerlawgroup.com,jscheer@ecf.courtdrive.com
                                                                 22
                                                                           Michael Raymond Sew Hoy
                                                                 23         sewhoym@sec.gov
                                                                           Western Alliance Bank
                                                                 24         wtl@roblewlaw.com

                                                                 25 BY U.S. MAIL:
                                                                    Senior District Judge Susan Illston
                                                                 26
                                                                    United States District Court
                                                                 27 Office of the Clerk
                                                                    450 Golden Gate Ave, 16th Floor
                                                                 28 San Francisco, CA 94102
